Case 2:05-cV-02426-.]P|\/|-de Document 12 Filed 08/26/05 Page 1 of 3 Page|D 17

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FRED JoNEs, JR., ) @C¥iURMMHW
MAxINE A. sMITH, vasco A. sMITH,)
JERI LEDBETTER, MARK LEDBETTER, )
TED MARTIN, JAMES sTAPLEs, )
cATHY DoUGLAs, REv. RALPH wHITE,)
and JANET w. wHITE

 

Plaintiffs,
v. No. 05-2426 Ml/V

R.ADIOLOGICAL ASSISTA.NCE
CONSULTING AN'D ENGINEERING, LLC:

Defendant.

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ORDER GRANTING PLAINTIFFS’ MOTION FOR LEAVE TO FILE REPLY

 

Before the Court is Plaintiffs' Motion, Supporting
Memorandum and Certificate Of Consultation for Leave to File a
Reply Brief, filed August 16, 2005. Good cause having been
Shown, the motion is GRANTED. The clerk's office is directed to

file the attached reply.

So ORDERED this 25 th day of August, 2005.

/Q»@m(%

@TED sTATES DISTRICT JUDGE

 

 

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This notice confirms a copy of the document docketed as number 12 in
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ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

